Case 21-50431 Doci6 Filed 08/17/21 Entered 08/17/21 14:23:45 Page 1of 90

Fill in this information to identify your case and this filing:

Debtor 1 Mauricio C DeOliveira
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: DISTRICT OF CONNECTICUT

 

Case number 2141-50431 HM Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 

[REE Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

D1 No. Go to Part 2.

a Yes. Where is the property?

4.4 What is the property? Check all that apply

10 Fairview Drive, Apt. 1 1 Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Duplex or multi-unit building

 

 

 

 

a Condominium or cooperative
(1 Manufactured or mobile home
Current value of the Current value of the
Danbury CT 06810-0000 O Land entire property? portion you own?
City State ZIP Code C1 Investment property $113,000.00 $113,000.00
0 Timeshare
oO es Describe the nature of your ownership interest
Other (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
MH Debtor 1 only Fee simple
Fairfield O bDebtor 2 only
County Oo
BeblorT and Debtor 2:onty Check if this is community property
O At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number HELe........sssseessersessesnesneenenneenensneeseeneenntennccnnennensetens => $113,000.00

EEA Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

HM No
O Yes

Official Form 106A/B Schedule A/B: Property page 1
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Case 21-50431 Doci6 Filed 08/17/21 Entered 08/17/21 14:23:45 Page 2 of 9L
Debtor1 Mauricio C DeOliveira Case number (ifknown) 21-50431

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

BNo
O Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for

pages you have attached for Part 2. Write that number here......cesceeesssseeetesesenseaeseeseanseneseanenesaseenees => $0.00

 

 

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

C1 No
Wl Yes. Describe.....

 

| Miscellaneous Household Goods and Furnishings $2,500.00

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

MNo
0 Yes. Describe...

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

HNo
0 Yes. Describe.....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

BNo
Yes. Describe...

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

HNo
Yes. Describe...

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

ONo
Yes. Describe...

 

[ Miscellaneous Wearing Apparel $2,500.00

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

HNo
O Yes. Describe...

13. Non-farm animals
Examples: Dogs, cats, birds, horses

HNo
Yes. Describe...

Official Form 106A/B Schedule A/B: Property page 2

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Case 21-50431 Doci6 Filed 08/17/21 Entered 08/17/21 14:23:45 Page 3 of 90
Debtor! Mauricio C DeOliveira Case number (ifknown) 21-5043!

14. Any other personal and household items you did not already list, including any health aids you did not list
HNo

O Yes. Give specific information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here ..scsssssssssesssssssssesssessscssecsseeseensessesnsssesessnsaseesseeseeneess $5,000.00

 

 

 

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

HNo

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

ONo

@ Ves Institution name:

17.1. Checking Union Savings Bank $617.35

 

 

17.2. Checking Bradesco Exclusive $4,244.93

 

 

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

HNo

OJ Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

HNo

OyYes. Give specific information about them..........:105
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

BNo
C1 Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

BNo

O Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

HNno

De. cecccececesecscseeee Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

HNo

Official Form 106A/B Schedule A/B: Property page 3

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Case 21-50431 Doci6 Filed 08/17/21 Entered 08/17/21 14:23:45 Page 4of9U
Debtor1 Mauricio C DeOliveira Case number (ifknown) 24-50434

DO Yes... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

HNo
DD Yes.eeccceccess Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit

HNo
O Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

BNo
O1 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

BNo
O Yes. Give specific information about them...

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you

HNo

O Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

HM No

O Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

BNo

O Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

HNo

Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

BNo
Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

BNo

Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims

HNo
Yes. Describe each claim.........

Official Form 106A/B Schedule A/B: Property page 4
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Case 21-50431 Doci6 Filed 08/17/21 Entered 08/17/21 14:23:45 Page 5 of 90

Debtor1 Mauricio C DeOliveira Case number (ifknown) 21-50431

35. Any financial assets you did not already list
BNo

0 Yes. Give specific information..

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that MUMber her e.............ccccceccessneesseeesseesescseensseeeesseseeeesseeecsaeenssaneeasssenaeesseesaneersseeeseseneessaeens $4,862.28

 

 

 

Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
BB No. Go to Part 6.

0 Yes. Go to line 38.
team Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Hi No. Go to Part 7.

0 Yes. Go to line 47.

[RRaEEE Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

HNo

0 Yes. Give specific information.........

 

 

 

 

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here ..........sseeeeeseeeseseeseees $0.00
List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2.0... seessssscsseeseessesseeesseesseesneeeneessaseesnuessaessauaneessascnerseneneeeegeesaeenseannensaenaeens $113,000.00
56. Part 2: Total vehicles, line 5 $0.00

57. Part 3: Total personal and household items, line 15 $5,000.00

58. Part 4: Total financial assets, line 36 $4,862.28

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $9,862.28 | Copy personal property total $9,862.28
63. Total of all property on Schedule A/B. Add line 55 + line 62 $122,862.28
Official Form 106A/B Schedule A/B: Property page 5

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Case 21-50431 Doci6 Filed 08/17/21 Entered 08/17/21 14:23:45 Page 6 of 9U

Fill in this information to identify your case:

Debtor 1 Mauricio C DeOliveira
First Name Middle Name Last Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: © DISTRICT OF CONNECTICUT

 

Case number 2141-50431

(if known)

 

MH Check if this is an
amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
O You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
W@ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.

Schedule A/B
Miscellaneous Household Goods and $2,500.00 Ml $2,500.00 11 U.S.C. § 522(d)(3)
Furnishings
Line from Schedule A/B: 6.1 O 100% of fair market value, up to

any applicable statutory limit

 

Miscellaneous Wearing Apparel $2,500.00 $2,500.00 11 U.S.C. § 522(d)(3)
Line from Schedule A/B: 11.1 ,

 

O 100% of fair market value, up to
any applicable statutory limit

 

Checking: Bradesco Exclusive $4,244.93 $4,244.93 11 U.S.C. § 522(d)(5)
Line from Schedule A/B: 17.2 ,

 

O 100% of fair market value, up to
any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

@ No
O Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

O No
Ol Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 1

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Deblor 1 Mauricio C DeOliveira
Pig Beaeoe Ruaiie beanies Lag: aie

Detter 2
ee Fins Hoes Se ities Cia

‘Abbe Slates Banwuptoy Gouri for te CAGTRUCT OF CONNEGTICU!

‘ite wrober 34-40434
neces

pre Teme

Official Form 106Dec
Declaration About an Individual Debtor's Schedules

if two mwrried people are filing together, both are equally responsible for supplying correct information

You must file this form whenever you file bankruptoy achadules or amended acheduion, Making a false statement, oor wcenling property, oF
obtaining money of property by fraud in connection with a bankruptoy case can result in fines up to $250,000, or imprisemmaent for up to <0
years, of both, 18 U.S.C. §§ 152, 1341, 1519, and 3571

oS Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fi out bankruptcy forms?

@
() Yeo Name of person

Under penalty of perjury, | declare that | have read the summary and schedules fied with this declaration and
that they are true and correct.

% fs/ Mauricio C OeOliveira ‘ ....
Mauricio C DeOliveira Q : Signature of Debtor 2
Signature of Oabtor 1 Cond oe oe lite.

Dele August Je oe Sate

Oficial Fawn 106Dec Declaration About an Individual Debtor's Schedules

toloeare Coaueait (6) GeGaads Shiai Cade, Lis + ww Basiteca cont est Citqe Markeugtey

 
Case 21-50431 Doci6 Filed 08/17/21 Entered 08/17/21 14:23:45 Page 8 of 9L

UNITED STATES BANKRUPTCY COURT

DISTRICT OF CONNECTICUT
IN RE: : CHAPTER 7
MAURICIO C DEOLIVEIRA : CASE NO.: 21-50431

DEBTOR
AUGUST 17, 2021

CERTIFICATION OF SERVICE
In accordance with the applicable provisions of the Federal Rules of
Bankruptcy Procedure, 2002 and 7004, the undersigned certifies that on the 17 day of

August, 2021, the following documents were served on the U.S. Trustee, the Trustee
and all appearing parties via the court’s electronic filing system or, by first class mail on

the parties listed in section 2 below.
1. Documents Served:
1. Amended Schedules A/B & C
Parties Served Via First Class Mail:

See Attached List of all creditors in the Bankruptcy Petition.

The Debtor(s)

By:_ss://David G. Volman
David G. Volman
His Attorney
Case 21-50431 Doc 16
Label Matrix for local noticing
0205-5
Case 21-50431
District of Connecticut
Bridgeport
Tue Aug 17 14:18:45 EDT 2021

Bridgeport
915 Lafayette Blvd
Bridgeport, CT 06604-4706

Fairview Condominium Association, Inc.
Gregg A. Brauneisen

Collins Hannafin Garamella Jaber etal
148 Deer Hill Avenue

Danbury, CT 06810-7727

(p) PORTFOLIO RECOVERY ASSOCIATES LLC
PO BOX 41067
NORFOLK VA 23541-1067

Tax Collector

City of Danbury
Attn:President

155 Deer Hill Avenue
Danbury, CT 06810-7726

Mauricio C DeOliveira
10 Fairview Drive
Apartment Unit 1
Danbury, CT 06810-7654

Filed 08/17/21 Entered 08/17/21 14:23:45

Bank Of America, N. A.
MS-PTX-C-35

7105 Corporate Drive
Plano, TX 75024-4100

Credit Center Inc
Attn: President

7 Finance Drive
Danbury, CT 06810-4162

IC System, Inc

Attn: President

Po Box 64378

Saint Paul, MN 55164-0378

Real Time Resolutions
ATT: President
P.0. Box 36655
Dallas, TX 75235-1655

U. S. Trustee

Office of the U.S. Trustee
Giaimo Federal Building
150 Court Street, Room 302
New Haven, CT 06510-2022

Richard M. Coan

Coan Lewendon Gulliver & Miltenberger LL
495 Orange Street

New Haven, CT 06511-3809

Page 9 of 90

Fairview Condominium Association, Inc.
c/o Collins Hannafin, P.C.

148 Deer Hill Avenue

Danbury, CT 06810-7727

Danbury Tax Collector
Attn:President

155 Deer Hill Avenue
Danbury, CT 06810-7726

Internal Revenue Service
Attn: President
Andover, MA 01810

State of Connecticut
Department of Social Services
Attn: President

55 Farmington Avenue
Hartford, CT 06105-3725

David G. Volman
UpRight Law, LLC

45 Huntington Plaza
Shelton, CT 06484-5211

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g) (4).

Portfolio Recovery
Attn: President
120 Corporate Blvd
Norfold, VA 23502

End of Label Matrix

Mailable recipients 16
Bypassed recipients 0
Total 16
